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From: Edward E. Filusch <EFilusch@kasowitz.com>
Sent: Thursday, August 24, 2023 1:44 PM
To: Manisha Sheth <manishasheth@quinnemanuel.com>
Cc: Patty Tomasco <pattytomasco@quinnemanuel.com>; jeffgeorge@jglawyer.com
Subject: RE: Doc Scanner_20230824_132647

                              [EXTERNAL EMAIL from efilusch@kasowitz.com]




Thanks. As discussed, and for the avoidance of doubt, it is our position that your EOD, Resolutions,
petitions, are all void given RCP’s prior EOD. We will, of course, respond to the notices in due course;
however, in the interim, we do not recognize these as valid legally.

Thanks,

Ed
